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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES – GENERAL

  Case No.      LACV 20-09660-VAP-JCx                                  Date March 30, 2021
  Title Paul O. Paradis v. Ellen Pansky, et al.



  Present: The Honorable     VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE


                Christine Chung                                          Not Reported
                 Deputy Clerk                                           Court Reporter


     Attorney(s) Present for Plaintiff(s):                  Attorney(s) Present for Defendant(s):
                 None Present                                            None Present


  Proceedings:      MINUTE ORDER (1) VACATING HEARING; (2) GRANTING MOTIONS TO
                    DISMISS COMPLAINT; AND (3) DENYING MOTIONS TO STRIKE AS MOOT (IN
                    CHAMBERS)

         Before the Court are four Motions, each filed on March 8, 2021: two motions to dismiss
 Plaintiff’s Complaint pursuant to Federal Rules of Civil Procedure 12(b)(5) and 12(b)(6) filed by
 Defendants Ellen Pansky and Pansky Markle Attorneys at Law (hereinafter the “Pansky
 Defendants”) and Defendants Browne George Ross LLP, Eric M. George, and Maribeth
 Annaguey (hereinafter the “BGR Defendants”); and two motions to strike Plaintiff’s Complaint
 pursuant to California Code of Civil Procedure § 425.16 filed by the Pansky Defendants and the
 BGR Defendants. (Dkt. Nos. 36, 38-43.) On March 23, 2021, the Court granted the BGR
 Defendants’ ex parte application to require Plaintiff to serve his opposition briefs to the pending
 motions electronically on defense counsel by no later than March 24, 2021 at 4:00 p.m.

          Pursuant to Local Rule 7-9, Plaintiff Paul O. Paradis’ opposition to the Motions was due
 to be filed by no later than March 22, 2021. To date, no opposition has been filed. Moreover, on
 March 29, 2021, the Pansky Defendants and the BGR Defendants each filed notices with the
 Court stating Plaintiff failed to serve his opposition briefs as ordered and, in fact, he failed to
 serve them at all. Accordingly, the Court VACATES the hearing set for April 12, 2021 at 2:00
 p.m.

         Local Rule 7-12 states that “failure to file any required document, or the failure to file it
 within the deadline, may be deemed consent to the granting or denial of the motion.” Kristensen
 v. Expansion Capital Grp., LLC, No. 2:16-cv-00982-JFW-JEMx, 2016 WL 10988570, at *1
 (C.D. Cal. July 19, 2016) (holding failure to oppose a motion to dismiss was grounds for

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 dismissal pursuant to Local Rule 7-12). Accordingly, the Court deems Plaintiff’s failure to file
 an opposition as consent to the granting the four pending Motions.

         In the interest of judicial economy and efficiency, the Court hereby GRANTS the two
 pending Motions to Dismiss the Complaint, without prejudice. The two pending Motions to
 Strike the Complaint are DENIED AS MOOT.

         IT IS SO ORDERED.




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